              Case 9:18-bk-10509-FMD         Doc 13     Filed 01/24/19   Page 1 of 4



                                        ORDERED.


     Dated: January 23, 2019




                        UNITED STATES BANKRUPTCY COURT
                 MIDDLE DISTRICT OF FLORIDA – FORT MYERS DIVISION
In Re:

PATRICIA LUREE HOUCK                                  Case No. 9:18-bk-10509-FMD
                                                      Chapter 7
                  Debtor.
                                               /

          ORDER GRANTING THE CHAPTER 7 TRUSTEE’S APPLICATION
             TO EMPLOY BK GLOBAL REAL ESTATE SERVICES TO
         PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327

       THIS CAUSE came before the Court without hearing upon the Application to Employ
(Doc. 11) pursuant to 11 U.S.C. § 327, requesting approval and authority to retain BK Global
Real Estate Services in this proceeding.

         The Court, having jurisdiction herein, finds as follows:

         1.     The Debtor filed for relief on December 7, 2018, under Chapter 7 of the United
                States Bankruptcy Code and Robert E. Tardif Jr., is the duly qualified and acting
                Chapter 7 Trustee of the bankruptcy estate of Patricia Houck.

         2.     The Debtor scheduled an ownership interest in real property located at 20850
                HAMMOCK GREENS LN 104 ESTERO, FL 33928, legally described as
                follows:

                Parcel Number: 32-46-25-E2-09005.0104
                Census Tract: 120710503.132007
                Carrier Route: R008
     Case 9:18-bk-10509-FMD           Doc 13     Filed 01/24/19    Page 2 of 4



        Abbreviated Description: SEC/TWN/RNG/MER:SEC 32 TWN 46S RNG 25E
        HAMMOCK GREENS IV AT PELICAN SOUND CONDO OR 3178 PG 201
        BLDG 5 UNIT 104


     hereinafter referred to as the “Real Property”.

3.      The bankruptcy estate now holds the undivided interest in and to the subject Real
        Property.

4.      The Debtor listed the Real Property within their schedules as having a value of
        $194,608.00.

5.      The Real Property is subject to the following mortgage(s) or lien(s): First
        Mortgage Holder: Mr. Cooper in an amount exceeding $198,845.00.

6.      Based upon the market value of the Real Property provided by the Debtor and the
        information regarding the mortgages on this Real Property, the first mortgage debt
        is in excess of the market value of the Real Property.

7.      The Handbook for Chapter 7 Trustees published by the Executive Office of the
        United States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a)
        General Standards “A trustee may sell assets only if the sale will result in a
        meaningful distribution to creditors. The Section further states “the trustee may
        seek a “carve-out” from a secured creditor and sell the property at issue if the
        “carve-out” will result in a meaningful distribution to creditors. Further, the
        Section states “The trustee must also consider whether the cost of administration
        or tax consequences of any sale would significantly erode or exhaust the estate’s
        equity interest in the asset.”

8.      BK Global Real Estate Services (“BK Global”) provides services to trustees as
        BK Global has expertise and experience in assisting the trustee in negotiating
        with secured creditors to accomplish the following:

        a.      Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the
                Chapter 7 Trustee determines to have made the best qualified offer with
                the sale approved by the Court, pursuant to 11 U.S.C. § 363;
        b.      Obtain the release the senior mortgage and waive all of its claims against
                the estate with respect to the Real Property (including any deficiency
                claims resulting from the proposed sale);
        c.      Work with the secured mortgage holder to enter into an agreement for an
                11 U.S.C. § 506 surcharge to pay all of the closing expenses associated
                with the § 363 sale, including the payment of a six percent (6%) real estate
                brokerage commission and reimbursement of their out-of-pocket expenses
                to BK Global and any associated real estate professional, paid from the
      Case 9:18-bk-10509-FMD          Doc 13     Filed 01/24/19      Page 3 of 4



               proceeds of the sale, and provide a meaningful carve out for the benefit of
               allowed unsecured creditors of the Debtor(s)’ estate; and
        d.     Make certain the amount of the carve out is clearly set out in the motion to
               sell the Real Property pursuant to 11 U.S.C. § 363.

9.      BK Global will assist the Chapter 7 Trustee in negotiations with the first
        mortgage holder to obtain the consent of the first mortgage holder for the sale of
        the Real Property. A carve out from the sale proceeds, such amount for the
        benefit of unsecured creditors of the bankruptcy estate, which will result in a
        meaningful distribution to the creditors, and upon a successful resolution with the
        secured creditor, a separate motion will be filed seeking approval of the
        settlement terms and conditions.

10.     BK Global will not be entitled to any fees if the first mortgage holder does not
        grant its consent or the Court does not grant the motion to approve the sale of the
        Real Property.

11.     In no event will the bankruptcy estate have any obligation to pay BK Global or
        associated real estate professional for their services, or to pay the customary title
        and closing services. The terms of the listing agreement and this Application
        provide that BK Global and listing agent are only entitled to payment if and when
        (a) secured creditor grants its consent, (b) the motion to approve sale is granted
        and (c) the Real Property is sold, in which event BK Global and listing agent will
        receive a six percent (6%) real estate brokerage commission and obtain
        reimbursement of any out-of-pocket expenses.

12.     The Trustee believes that the highest and best value for the Real Property will be
        generated through a sale in which the Real Property is widely marketed to the
        public and offered at the highest price that the market will bear. The Trustee
        further believes that such a sale is in the best interest of the Debtor(s)’ bankruptcy
        estate, but can only be achieved if the secured creditor’s consent is first obtained.
        The Chapter 7 Trustee believes that retaining BK Global and/or an associated real
        estate professional to obtain the secured creditor’s consent is in the best interest of
        the Debtor(s)’ bankruptcy estate.

13.     The Trustee submits that the terms of employment and compensation as set out in
        this application and the listing agreement, are reasonable in light of the extensive
        experience of BK Global and any associated real estate professional, and the
        nature of the services they provide. (See Exhibit “A” which was attached to the
        Application.)

14.     BK Global attested that it is a disinterested person within the meaning of Section
        101(14) of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014
        and 2016(a). Attached to the Application as Exhibit “B” was the Affidavit of
        Disinterestedness of BK Global. BK Global also attests, pursuant to Bankruptcy
           Case 9:18-bk-10509-FMD            Doc 13     Filed 01/24/19      Page 4 of 4



               Rule 2016, that it shall not split or share its fee with any individual or entity other
               than the listing agent or a buyer’s agent, if applicable.

       It is, therefore

       ORDERED that the Application to Employ filed herein by the Chapter 7 Trustee is
hereby approved and the Chapter 7 Trustee is hereby authorized to retain BK Global Real Estate
Services in this case and the compensation arrangements set forth in the listing agreement and
this application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code are hereby
approved but payment shall be upon further application and Order of this Court.

       IT IS FURTHER ORDERED that the proposed Real Estate Listing Agreement is
hereby approved and the Trustee is hereby authorized to execute the Agreement.


Trustee, Robert E. Tardif Jr., is directed to serve a copy of this Order on interested parties and
file a proof of service within 3 days of entry of the Order.
